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                              UNITED STATES BANKRUPTCY COURT
                                         Northern District of Indiana
                                            Fort Wayne Division


In Re: Debtor(s) (name(s) and address)                    )
Barry Jay Keister                                         )
xxx−xx−5546                                               )
216 East Ellsworth Street                                 ) Case Number: 22−11377−reg
Columbia City, IN 46725                                   )
                                                          )
Sandra Kay Keister                                        )
xxx−xx−4446                                               )
216 East Ellsworth Street                                 )
Columbia City, IN 46725                                   )
                                                          ) Chapter: 13
                                                          )
                                                          )
                                                          )
                                                          )
                                                          )
                                                          )



                  ORDER FIXING TIME TO OBJECT TO CONFIRMATION
                    OF CHAPTER 13 PLAN AND NOTICE OF HEARING
       The debtor(s) filed a Chapter 13 plan on December 23, 2022 .

       IT IS ORDERED AND NOTICE IS GIVEN THAT:

      1.    Any objections to confirmation of the proposed plan must be filed no later than fourteen
(14) days prior to the confirmation hearing scheduled below. Objections should be filed with the Clerk of
the United States Bankruptcy Court, 1300 South Harrison Street, Fort Wayne, Indiana 46802.

       2.   The court will hold a hearing on March 7, 2023 at 11:00 AM , or as soon thereafter as the
matter can be heard, in the Federal Building, 1300 South Harrison Street, Room 2127, Fort Wayne, Indiana
46802, to consider confirmation of the proposed plan and any objections thereto. This hearing has been
scheduled on the court's miscellaneous calendar and the court will not be prepared to receive evidence
concerning any factual disputes. Counsel for the debtor(s) or debtor(s) if self−represented and any objectors
will, nonetheless, be expected to appear. (If the plan has not been objected to, amended or modified in some
way, only the Trustee needs to appear for this hearing.) Any objections to confirmation that cannot be
disposed of at the hearing based upon the undisputed facts will be scheduled for such further proceedings as
may be appropriate.

      3.     In order to avoid delaying confirmation, Debtor(s) should promptly file and serve any
modifications or amendments to the plan. Modifications or amendments which are filed and served upon all
creditors and parties in interest at least 21 days prior to the last day for filing objections to confirmation
will become part of the proposed plan and will be considered at the scheduled confirmation hearing without
further notice.




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      4.     If confirmation is denied because of the debtor(s)' failure to fulfill duties imposed by the
Bankruptcy Code and rules of procedure, such as the duty to provide the trustee with required information or
documentation or to commence making the required plan payments, the court may dismiss the case without
further notice or hearing.

      5.     No later than twenty−one (21) days before the last day for filing objections to confirmation, the
Chapter 13 Trustee shall serve a copy of this order, along with a copy of the currently proposed plan, upon all
creditors and parties in interest and make due proof thereof. If any creditor or party in interest is entitled to
service of the plan in the manner provided by Rule 7004, see e.g., Fed. R. Bankr. P. Rules 3012(b); 4003(d);
7004, it shall be the debtor(s)' responsibility to serve the plan in the required manner and make due proof
thereof.



      Dated: December 28, 2022




                                                                        Robert E. Grant
                                                                        ______________________________________
                                                                        Judge, United States Bankruptcy Court
